Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 1 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 2 of 20




                                                    1:21mj03590 Becerra




   08/16/2021
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 3 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 4 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 5 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 6 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 7 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 8 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 9 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 10 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 11 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 12 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 13 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 14 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 15 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 16 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 17 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 18 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 19 of 20
Case 1:21-cr-20442-PCH Document 1 Entered on FLSD Docket 08/16/2021 Page 20 of 20




                16
